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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

 __________________________________
                                              )
                                              )
      Rodney Lail, et al.,                    )
                                              )
             Plaintiffs,                      )
                                              )      C.A. No. 10-CV-210-PLF
                    v.                        )
                                              )
      United States Government, et al.,       )
                                              )
                                              )
             Defendants.                      )
                                              )
                                              )
                                              )


            MOTION FOR FIREWALL PROTECTION
EITHER AS SUPPLEMENT TO THE MINUTE ORDER GRANTING THE
   UNITED STATES GOVERNMENT DEFENDANTS’ MOTION FOR
         ENLARGEMENT OF TIME (DOCUMENT NO. 53)
             OR AS A SEPARATE COURT ORDER


      Pro Se Plaintiffs have no objection to the expansion of time requested by the

United States Defendants as it is wise to allow the government the time necessary

to adequately protect the interests of the American people. Moreover, it is clearly

in the interest of the American people that appropriate federal resources be applied

to properly investigate and take appropriate action for the deprivation of federally

protected rights under color of state and federal law.


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      Pro Se Plaintiffs have previously gone to the FBI several times with well

founded complaints substantiated by independently certified evidence and

documentation that required the FBI to conduct a substantive investigation, but as

part of the actions alleged herein, each time the filings were made by the

Plaintiff(s) such filings resulted in nothing but further retaliation against the

Plaintiffs and an expanded cover-up.

      The Plaintiffs request that this Court create a firewall between the defense of

this case and a separate group of personnel from the FBI and the Justice

Department to investigate the Plaintiffs’ complaints.

      The United States Defendants have a legal duty to investigate abuses of

power under color of law and the Government has adequate resources delegated to

properly investigate Plaintiffs’ claims of civil rights violations under color of law.

      Furthermore, it is prudent and justified for this Court to use this opportunity

to put in place a mechanism to stop the Pro Se Plaintiffs from being further

victimized by the United States Defendants under color of, though not within the

law, by providing the Plaintiffs access to law enforcement personnel with the FBI

that do not have deliberately indifferent ears. By putting in place a mechanism for

the proper investigation of complaints in these matters regarding civil rights

violations under color of law the Court will provide an environment for the proper

investigation of civil rights violations under color of law, that have never been


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investigated and allow a proper civil rights investigation into the very entities that

are supposed to uphold the civil rights guaranteed by the United States

Constitution to citizens.

      It is in the interest of the American public, that the United States

Government functions under the United States Constitution and the government

protects the individual citizen’s rights guaranteed by the United States

Constitution.

      It is important that this Court assure the fairness of the legal system in such

litigation to the public in that the United States Defendants already have virtually

unlimited resources in addition to knowledge of and access to legal procedures; the

Pro Se Plaintiffs do not have such access, due to the overwhelming differences of

United States Defendants’ legal representation compared to the predominantly

disabled, lay Pro Se Plaintiffs.

      Pro Se Plaintiffs set forth that, therefore, it is prudent, justified and

necessary for this Court to use this opportunity to put in place a mechanism to stop

the Pro Se Plaintiffs from being further victimized by the United States Defendants

and other Defendants in this matter through, inter alia, the denial of Plaintiffs’ due

process of law and the denial of Plaintiffs’ rights to equal protection under the 5th

and 14th amendments to the United States Constitution, and put in place a

mechanism for the proper investigation of civil rights violations that have never


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been investigated to date including the civil rights violations that continue to

victimize the Pro Se Plaintiffs as retaliation for the filing of this lawsuit brought

before this Honorable Court by the Pro Se Plaintiffs.

                    I.         BACKGROUND

      There has never been a proper investigation of the Pro Se Plaintiffs’ civil

rights claims under color of law in these matters by the FBI and/or any other law

enforcement entity (See Document No. 12).

      The civil rights abuses alleged in the complaint are continuing and so blatant

that the UniHealth Defendants in this matter admitted facts supporting a finding

of civil rights violations under color of law including, but not limited to a

conspiracy to deprive Pro Se Plaintiff Spencer and Pro Se Plaintiff Doris Holt of

their civil rights. This was an attempt to interfere with the Pro Se Plaintiffs’

litigating in the above captioned case.

      These recent actions were specifically conceived to wrongfully set up and

arrest Pro Se Plaintiff James Spencer as he peacefully and lawfully went to visit

his 93 year old mother Pro Se Plaintiff Doris Holt at a retirement facility where she

is being wrongfully detained against her will by Defendants in this action (See

Plaintiffs’ Document No. 52, [Pg 4, line 4 to Pg 7, line 16, and Exhibit “C”]

and UniHealth Defendants’ Document No. 62, [UniHealth Defendants

Response to Plaintiffs’ Document No. 52]).


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      This is a continuation of the Defendants’ abuse of the Pro Se Plaintiffs’

rights, where the Defendants know that the Pro Se Plaintiffs are being afforded no

protection by law enforcement, and that the Pro Se Plaintiffs are totally vulnerable

to civil rights crimes with no downside risk to the perpetrators. Because this

treatment by law enforcement is condoned by the FBI, the Pro Se Plaintiffs’

constitutionally guaranteed rights are, effectively, non-existent and the Pro Se

Plaintiffs do not have equal protection of the law or any protection from illegal acts

during the pendency of this proceeding.

      The Pro Se Plaintiffs have alleged in their complaint (Document No. 12)

that the FBI has violated their civil rights in conjunction with covering up civil

rights violations under color of law both with and without brutality. The Pro Se

Plaintiffs have been denied equal protection under the law as repeatedly

documented in the Complaint (Document No. 12).

      Individual Pro Se Plaintiffs filed complaints with the Federal Bureau of

Investigation as documented in their Complaint (Document No. 12, ¶¶ 94, 98,

102, 131, 135, 136, 138, 139, 142, and 143). However, the Washington, DC based

Defendant Federal Bureau of Investigation Headquarters’, in Washington DC,

(“FBIHQ”) and Washington DC based Defendant Justice Department’s

(hereinafter “Defendant Justice Department” always refers to Washington DC

based) correspondence evidences the fact that the FBIHQ ignored the complaints


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filed by the Pro Se Plaintiffs and covered up the fact such complaints were filed

with the Defendant FBIHQ and the Defendant Department of Justice.              (See

Exhibit “A” attached hereto.)

      In just one example, (Document No. 12, ¶ 97) after being presented with

objective and independent evidence clearly documenting the FBI-NCIC system’s

criminal use in civil rights crimes with brutality under color of law, Defendant FBI

SA Phil Celestini stated to Plaintiff Williamson that the local Assistant United

States Attorney had decided not to prosecute the crimes associated with the

criminal use of the FBI-NCIC system that entailed the Pro Se Plaintiffs’ being

deprived of their civil rights. When Plaintiff Williamson asked for an explanation

as to why the clear cut criminal abuse would not be prosecuted, Pro Se Plaintiff

Williamson was told by Defendant FBI SA Phil Celestini that, “everyone speeds,

but not everyone gets a speeding ticket.

      FBI SA Phil Celestini had confirmed to Pro Se Plaintiff Williamson, that in

this case the FBI was actually conducting a selective enforcement of non-

discretionary law which is, in fact, a form of discrimination against the Pro Se

Plaintiffs. (See Exhibit “B” attached hereto.)




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          (See footnote Number 2 below regarding the career felon involved in the

civil rights crimes under color of law with brutality in this instance, but not

investigated as required by ‘MIOG’ 1).”

          It should be noted that the local Assistant United States Attorney does not

have the legal authority to make such decisions for the FBI in such civil rights

cases. (See [“MIOG”] Document No. 12-1, Pg. 185, ¶ 44-3.1(5).)

          The story has been and is the same in every instance when a Pro Se Plaintiff

filed a civil rights complaint under color of law with the FBI in these matters. The

required non-discretionary FBI rules and regulations were not followed and no

required proper investigation was ever conducted in any instance (See Document

No. 12, ¶¶ 140, 141 and 142).

          It appears that the FBIHQ did not and does not want the issue of the FBI-

NCIC system’s vulnerability to felonious criminal use brought into question. 2 The

FBI and the United States Department of Justice time and again breached their

duty to protect and defend the rights guaranteed by the United States Constitution

1
    The FBI – “Manual of Investigative Operational Guidelines” referred to as “MIOG”.
2
   Judicial Notice - Self confessed and convicted felon Harold Steve Hartness, a former police officer
(forced to resign from the police department for “moral turpitude”), orchestrated the criminal use of the
FBI-NCIC system in conjunction with bribed local law enforcement officers in committing civil rights
crimes under color of law both with and without brutality against the Plaintiffs in these matters. Hartness
is currently serving a multiyear sentence in federal prison for unrelated felonious federal crimes also
involving the bribing of law enforcement officers.
         Magistrate Judge Dennis Howell stated in open court during Harold Steve Hartness’ detention
hearing on August 3, 2007 that, “He [Harold Steve Hartness] is a danger to our system of justice.”
(See also United States District Court for the Western District of North Carolina, Asheville Division,
Case 1:07-cr-00104-TSE, Document No. 19-2, page 116, lines 17 -25 & page 117,lines 1-15).
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to the Pro Se Plaintiffs and the American public in order to preserve the unjustified

appearance of the integrity and reliability of the much vaunted FBI-NCIC system.

      The FBI Headquarters in Washington, DC was and is required to review and

make prosecutorial decisions regarding the civil rights complaints filed by the Pro

Se Plaintiffs with the FBI under color of law concerning both with and also without

brutality. The FBIHQ did not follow required procedures as documented in their

FBI operations manual in any one of the complaints filed by the Pro Se Plaintiffs.

(See Document No. 12, ¶¶ 92 – 102.)

      Further, as the cover-up expanded, the FBI brought in Noel Herold to

wrongfully assist in concealing the civil rights violations under color of law both

with and without brutality. (See Document No. 12, ¶¶ 122 - 126.) Noel Herold

and his associate FBI contracted forensic audio expert Bruce Koenig were brought

into what was, in retrospect, a mop up operation by the FBI to wrongfully impede

the Constitutionally protected legal actions of Pro Se Plaintiffs.

      Noel Herold wrongfully covered up incriminating evidence through,

including but not limited to, fabricating examination results, participating in the

subordination of perjury, and through the spoliation of evidence concerning

incriminating police videotape evidence of civil rights violations “under color of

law” with brutality including, but not limited to, physical torture and false arrest

(See Document No. 12, ¶¶ 88, 89, & 122 – 126 & Pro Se Plaintiffs Electronic


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Exhibit “I” through the link below:

https://backup.filesanywhere.com/fs/v.aspx?v=896b658e5c666dbda8a3 ).

      In the process, a multitude of wrongful steps was taken by FBI and Justice

Department personnel to insure that Herold’s fabricated credentials and their use of

Noel Herold to present fabricated and contrived examination reports in this and

other matters would never be brought to the attention of any Court of Justice,

including this Court and the American public (See Document No. 12, ¶¶ 123, 124

and 140).

      Despite the illicit efforts of the FBI and the Justice Department through Noel

Herold to obstruct the lawful efforts of the Plaintiffs, the Pro Se Plaintiffs have

continued to lawfully pursue their civil rights claims. However, this case has the

potential for bringing into question Defendant Noel Herold’s involvement in

numerous other cases he has worked on for the FBI and the Justice Department.

      Through extensive efforts, the Pro Se Plaintiffs have identified a common

thread of concern in many cases because they all involved questionable

examinations, analysis and findings regarding video and/or audio recordings that

were conducted by Defendant Noel Herold. If Noel Herold’s fabricated

credentials and the results of his contrived examination results were to become

public, the FBI and the Justice Department would come under exacting public and

Congressional scrutiny.     Such scrutiny is sought to be avoided by these


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governmental entities at any cost including depriving Pro Se Plaintiffs of their

constitutional rights. The cases in question all involved questionable examinations

and assessments of video tape and audio recordings and/or involved the

destruction of exculpatory or incriminating evidence under circumstances that if

they became public would expose the “culture of corruption” in the FBI.

      Such questionable cases include, but are not limited to, the 1995 bombing of

the Murrah Federal building in Oklahoma City (Case No. 2:03-CV-339 TS &

Case No. 2:04-CV-00772-DAK), the United States Government siege of the

Branch Dividian 7th Day Adventist Compound at Waco, Texas (Andrade v.

United States, 116 F. Supp. 2d 778), the February 26, 1993, World Trade Center

bombing, United States vs. Lynn Stewart, et al., (597 F.3d 514; 2010 U.S. App.

LEXIS 3772), the case of the United States vs. Franklin C. Brown (2008 U.S.

Dist. LEXIS 13286), the Hague war crimes tribunal regarding the Prosecutor vs.

Slavko Dokmanovic, (IT-95-13a-T), the State of Hawaii vs. Shane Mark, (First

Circuit Court, CRs No. 03-1-0495 and 03-1-0496) and bring into question the

other cases listed on Noel Herold’s CV, and cases involving Bruce Koenig and/or

George Skaluba, all conducted under the auspices of the FBI. As an example, Noel

Herold’s CV appears to change from case to case depending on the FBI’s and/or

Justice Department’s desires for a specific outcome in a case irrespective of the

physical evidence. (See Exhibit “C” attached hereto.)


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      Subsequent to the Pro Se Plaintiffs’ serving notice of their intent to file

Federal and State tort claims as required by law before filing the complaint, on July

29, 2009, 93 year old Pro Se Plaintiff Doris Holt’s civil rights were violated by the

Defendants as she was wrongfully taken into custody without probable cause and

has not been afforded due process. Doris Holt is still wrongfully being held as of

this date against her will by Defendants in this case as detailed in the complaint.

(See Document No. 12, ¶¶ 145 – 217.)

      Despite expressions of public outrage in various news articles (See Exhibit

“D” attached hereto) a letter to the FBIHQ Civil Rights Division in Washington,

DC (See Exhibit “E” attached hereto), and complaints filed with local law

enforcement authorities, and the filings in this Court, which were received by the

Department of Justice and the FBI, no investigation has been conducted despite

such an investigation being required by the FBI and the Department of Justice

operational procedures regarding the civil rights violations under color of law

associated with the abduction of Pro Se Plaintiff Doris Holt.

      Civilian Defendants in this action directly involved in the abduction of Doris

Holt and related wrongful actions have claimed they are not subject to civil rights

crimes under color of law and other Defendants are trying to hide behind

wrongfully obtained local Court orders as a defense for their wrongful acts in

violation of civil rights laws. Further the civilian Defendants and South Carolina


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State Defendants have also claimed that they are not subject to the venue and

jurisdiction of the DC Federal District Court. (See Document No. 24, Pg. 9,

[UniHealth Defendants], and Document No. 19, Pg. 4 - 6 [Palmetto Health

Defendants & the State of South Carolina Defendants], and Document No. 34, Pg.

2, lines 12-22 [Defendants Susan Stewart & Sean Markham].)

      Investigations of civil rights crimes “under color of law” both with and

without brutality are directed out of Washington, DC by the Defendant FBI and the

Defendant Justice Department, and the power to prosecute or not prosecute the

perpetrators of civil rights crimes under color of law emanates from Washington,

DC. Since the protection which should have been afforded the Pro Se Plaintiffs,

was not, the other Defendants’ wrongful actions in these matters were, and are

sanctioned by, if not directed by the Defendant FBIHQ and the Defendant Justice

Department in Washington, DC.

      The United States Supreme Court found in Price Waterhouse v. Hopkins:

      “But-for causation is a hypothetical construct. In determining whether a particular
      factor was a but-for cause of a given event, we begin by assuming that that factor
      was present at the time of the event, and then ask whether, even if that factor had
      been absent, the event nevertheless would have transpired in the same way. The
      present, active tense of the operative verbs of § 703(a)(1) ("to fail or refuse"), in
      contrast, turns our attention to the actual moment of the [*241] event in
      question…”
      Price Waterhouse v. Hopkins, 490 U.S. 228, 240-241 (U.S. 1989)


      There is no question that if the Defendant FBIHQ had conducted a proper

investigation as required when the complaint of civil rights crimes under color of

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law was filed by Pro Se Plaintiff Spencer and Pro Se Plaintiff Doris Holt with FBI

SA Defendant Thomas Marsh in February 2001 (See Exhibit H, Pg 2, Beginning

Paragraph 2 through Pg. 6 Paragraph 1) or when Pro Se Plaintiff Williamson,

in the company of Haywood Starling 3, the former long term head of the North

Carolina State Bureau of Investigation, filed a civil rights under color of law

complaint with Defendant FBI SA Phil Celestini at the Greensboro, North Carolina

FBI office in January of 2002, (See page 6 herein) the enduring litany of civil

rights crimes under color of law continuing to date victimizing the Pro Se Plaintiffs

would not have occurred.

        Acting directly as, or as defacto agents of co-conspirators in Washington,

DC who use their offices of authority in law enforcement located in Washington,

DC, to commit crimes and/or protect the perpetrators of Constitutional crimes from

prosecution, does in fact subject the other Defendants under the DC long arm

statute regardless of the existence or non-existence of standard business dealings

with the Federal Government in Washington, DC.

        In Agee V. Sebelius, the DC District Court ruled:

         “These minimum contacts must be grounded in some act by which the defendant
      purposefully avails itself of the privilege of conducting activities with the forum
      state, thus invoking the benefits and protections of its laws.”
      Agee v. Sebelius, 668 F. Supp. 2d 1 (D.D.C. 2009)

3
 Haywood Starling opined to FBI SA Celestini at the meeting in January 2002, that this was “the worst case of
public corruption under color of law I had ever investigated or researched in all my years of supervisory law
enforcement experience.” Haywood Starling’s credentials include being Supervisor, Questioned Document
Section, North Carolina State Bureau of Investigation, a graduate of the FBI National Academy and a former
Director of the North Carolina State Bureau of Investigation.

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            Significantly, the Palmetto Senior Care Defendants, the UniHealth

Defendants, Defendants Markham and Stewart and recently an Officer of this

Court, UniHealth defense counsel Jason E. Bring, through their participation in a

conspiracy including the denial of Pro Se Plaintiff Doris Holt and Pro Se Plaintiff

James Spencer their rights to see each other and/or for either to have access to

Doris Holt’s own medical records as guaranteed under South Carolina law (See

Exhibit “F” attached hereto) and the related attempt to have Plaintiff Spencer

wrongfully arrested on September 11, 2010, are through these various acts in

violation of Title 18, Section 242 of the civil rights code.

            These wrongful actions violating Pro Se Plaintiff Doris Holt and Pro Se

Plaintiff James Spencer civil rights under color of law are still happening even

while the perpetrators are subject to the jurisdiction of this Court in Washington,

DC and in fact such acts are taking place to interfere with the Pro Se Plaintiffs

attempting to litigate these legal proceedings in Washington, DC

            Under Title 18 U. S. Code, Section 242, Deprivation of Civil Rights Under

Color of Law, a private citizen who assists in a civil rights crime is subject to being

criminally charged under this law and this law also specifically details applicability

to proprietors of nursing homes. 4



4
    See Title 18 U. S. Code, Section 242, Deprivation of Civil Rights.

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      Yet, despite all this, the FBIHQ in Washington, DC and the Justice

Department in Washington, DC have refused to move even one finger to fulfill

their obligation to protect the American public’s rights guaranteed by the United

States Constitution by investigating the continuing civil rights violations in these

matters.

      Plaintiffs both seek and welcome contact with and protection from the FBI

under the supervision and protection of this Court.         Through this motion the

Plaintiffs pray that this Court will ensure the Plaintiffs’ Constitutional rights are in

fact secured by the FBI and the Department of Justice irrespective of this lawsuit

and the ramifications of a judgment in favor of the Plaintiffs as an outcome of this

lawsuit.

      In one research paper released during the time period relevant to the claims

in this case, authored by Lieutenant Julius Tate with Eastern Michigan University

School of Staff and Command, Tate concluded, “The Federal Bureau of

Investigation has a worldwide reputation as an elite law enforcement agency.

However, that reputation is quickly being overtaken by revelations of questionable

integrity and crime fighting acumen. As a consequence, this paper opined that the

Federal Bureau of Investigation’s reputation has been impeached, and is unworthy

of investigating corrupt police officers, unless there’s some truth in the adage that

‘it takes a thief to catch a thief.’ Therefore, this research concluded that an


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independent federal agency should be created to investigate all public corruption,

and that the FBI should be relieved of such responsibilities.” 5

           Tate further concluded, “Like the custom and cultures of local law

enforcement agencies that it revels in investigating, the FBI has a custom and

culture that smells of corruption.” 6

           In summary Tate stated, “After researching the misdeeds and shenanigans of

the FBI, this paper views any type of federal intervention as anathema. Because it

appears that federal law enforcement agencies have traditionally lacked minimum

oversight, more federal intervention may mean more abuses of the rights

guaranteed by the United States Constitution.” 7

           The Defendant FBI and the Defendant Justice Department not only

fabricated forensic lab reports through Defendant Noel Herold and others with the

FBI laboratory at Quantico, Va., and fabricated NCIC reports to conceal the civil

rights crimes under color of law using Senator Lindsey Graham of the United

States Judiciary Committee (the FBI Oversight Committee) as an unwitting

accessory to civil rights crimes under color of law. Significantly, at the time

Senator Graham was Chairman of the subcommittee on the Constitution.

5
  “POLICE CORRUPTION: FBI INVESTIGATIONS ARE NOT THE ANSWER”, a research paper by Lieutenant
Julius Tate, Eastern Michigan University School of Staff and Command, May 27, 2003, Pg. III, Lines 1 – 7,
http://www.emich.edu/cerns/downloads/papers/PoliceStaff/Managing%20the%20Police%20Agency/Police%20Corr
uption--FBI%20Investigations%20are%20not%20the%20Answer.pdf
6
    Ibid, Pg. XXIII, Lines 8 – 9.
7
    Ibid, Pg. XL, Lines 5 – 9.

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      Jurisdiction of this subcommittee includes all constitutional amendments,

enforcement and protection of constitutional rights, statutory guarantees of civil

rights and civil liberties. By undermining the integrity of the Chairman of this

subcommittee both the Defendant FBI and Defendant Justice Department

demonstrates not only a lack of respect for the United States Constitution and the

American Citizen’s Constitutionally guaranteed rights, but a lack of respect for the

Congress and the oversight committee charged with maintaining the guidelines of

integrity for the Defendant FBI and the Defendant Department of Justice.

      The Defendant FBIHQ and the Defendant Justice Department also concealed

information by disseminating untruthful FOIA reports to the Pro Se Plaintiffs.

Amazingly, in one instance the FBIHQ claimed that information was not

producible under the FOIA law since there was an ongoing criminal investigation.

      However, the statute of limitations had already expired due to lack of action

by the Defendant FBI for years after the filing by the Pro Se Plaintiffs. This is

another example of the Defendant FBIHQ and Defendant Justice Department

covering up evidence related to civil rights crimes under color of law regarding the

Pro Se Plaintiffs (the victims). (See Exhibit “G” attached hereto.)




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                           II.              DISCUSSION

        The resources for protecting the Pro Se Plaintiffs’ due process and equal

protection rights should be available to the Plaintiffs regardless of the presence or

absence of this lawsuit. In the interest of protecting the American public, which is

the United States Government's primary duty, notwithstanding the fact that the

Government has some agents who have caused the Government to be a defendant

in this case, the rights of due process and equal protection, which Plaintiffs have

been denied the Pro Se Plaintiffs by the Defendants in these matters, need to be

guaranteed for the Pro Se Plaintiffs by this Court.

        The FBI also does not want to publicly acknowledge the ease of ability for

felons to access the FBI-NCIC system for criminal purposes, an event which

occurred incidentally to this case. In this case the FBI has gone to the extent of

undermining the credibility of the United States Senate Judiciary Committee. (See

Document No. 12, ¶¶ 117 – 120.) The FBI knowingly “certified” fabricated FBI-

NCIC 8 reports and committed further fraud by knowingly submitting the fabricated

“certified” FBI NCIC reports to a sitting member of the United States Senate

Judiciary Committee who was also the Chairman of the United States Senate

Judiciary Subcommittee on the Constitution at the time. The FBI fraudulently used

the offices of United States Senator Lindsey Graham, and his position with the

8
 The FBI – NCIC system lists individual fleeing felons nationwide and is accessed by all law enforcement agencies,
Federal, State, local and worldwide.

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United States Senate Judiciary Committee to add credibility to aid in the

commission of violations of the Pro Se Plaintiffs’ constitutional rights to due

process and equal protection under the United States Constitution. The

undermining of the credibility and integrity of the United States Senate Judiciary

Committee obviously means nothing to the FBI and the Department of Justice

when it comes to preserving their undeserved reputation and baseless appearance

of integrity. (See Exhibit “H” attached hereto.)

Protective Mechanism

         The Pro Se Plaintiffs Constitution rights can be guaranteed by this Court

ordering the FBI to provide personnel to interview, investigate and consider action

in a chain of command independent of authorities defending this case, in a manner

that is documented and can be reviewed by this Court, in camera and/or in open

Court.

         Given the aforementioned, the only way for the Pro Se Plaintiffs to ensure

their Constitutionally guaranteed rights of due process and equal protection of the

law is for the Court to have the Government provide FBI agent(s) and appropriate

lawyers from the DOJ who are guaranteed a firewall in writing by the Attorney

General to investigate the alleged civil rights abuses and to report and refer abuses

of state law to appropriate state authorities where the independent authority will

report in writing to the Attorney General of the United States.


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      An objective investigation is required by FRCP Rule 11 and is what the

Government should be doing in attempting to put its defense together during the

requested delay. However, the over decade long documented Defendant FBI and

Defendant Justice Department’s record in these matters involving the Pro Se

Plaintiffs, empirically shows that this will not be the case.

      The Defendant FBIHQ and the Defendant Justice Department in

Washington, DC have failed to provide documents under the FOIA in these matters

as part of the United States Government Defendants’ efforts to cover up the civil

rights crimes under color of law both with and without brutality regarding the Pro

Se Plaintiffs. (See Exhibit “G” attached hereto.)

      What is supposed to happen is that even as the Government is doing an

investigation to prepare its defense, the Government's primary responsibility is to

fulfill its duty, first and foremost, in enforcing the laws of the United States and the

United States Constitution for the interest of the American public.

      In that regard, the 9th Circuit Court found:

     “…the prospect of non-compliance is an "exceptional condition" that justifies
     reference to a master. The Supreme Court recently stated in a civil rights case in
     which the district court issued an injunction after trial that in light of the difficulties
     inherent in monitoring compliance with the court's orders, and especially petitioners'
     established record of resistance to prior state and federal court orders designed to end
     their discriminatory membership practices, appointment of an administrator was well
     within the District Court's discretion. See Fed. Rule Civ.
     Proc. 53.”

     National Organization for Reform of Marijuana Laws v. Mullen, 828 F.2d 536, 542
     (9th Cir. Cal. 1987)

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      The United States Supreme Court, as cited by the 9th Circuit immediately

above determined in Local 28 of Sheet Metal Workers’ Int’l that:

     “The District Court properly appointed an administrator to supervise petitioners'
     compliance with the court's orders. In light of the difficulties inherent in monitoring
     such compliance, and especially petitioners' established record of resistance to prior
     state and federal court orders, appointment of an administrator was well within the
     District Court's discretion.”

     Local 28 of Sheet Metal Workers' Int'l Ass'n v. EEOC, 478 U.S. 421 (U.S. 1986)


      It is clear the Defendant FBI and the Defendant Department of Justice in

these instant matters are unable to both police themselves and also the other

Defendants when left to their own devices.

      The latest violations of the Pro Se Plaintiffs’ civil rights which were

blatantly both orchestrated and admitted to the Court by an Officer of this Court,

Jason E. Bring, Esquire, to violate Pro Se Plaintiff Doris Holt’s civil rights under

color of law, by denying her rights under the South Carolina bill of rights for

senior citizens (See Exhibit “I” attached hereto) and in concert with the local

police have had Pro Se Plaintiff Spencer wrongly arrested for trespassing, (See

Exhibit “J” attached hereto) is hauntingly similar to the misuse of governmental

authority in Adickes v. S. H. Kress & Co., the United States Supreme Court found:

              “A state is responsible for the discriminatory act of a private party when
              the state, by its law, has compelled the act. Discriminatory acts by private
              parties done under the compulsion of state law offend U.S. Const. amend.
              XIV.” Adickes v. S. H. Kress & Co., 398 U.S. 14




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      Therefore, Plaintiffs pray this Honorable Court in the interests of justice

create a firewall between the Court designated authorities to whom the Pro Se

Plaintiffs can reveal their whole case, just like any citizens whose civil rights under

color of law have been violated are supposed to be able to do, and the Defense for

the FBI and the Justice Department Defendants in this case.

      The interests of the public will not be protected unless the Court orders the

FBI and the Justice Department to investigate the allegations and facts, and then

takes whatever action it needs to in creating an independent criminal and civilian

authority to protect the public's interest in enforcing the laws and exposing the civil

rights crimes regardless of the political impact on the Defendant FBI and

Defendant Justice Department.

      Plaintiffs seek a hearing before this Court on the relief requested in this

instant matter including the Court appointing experts, monitors and/or otherwise

assuring that the Court orders that Defendant DOJ and the Defendant FBI will

provide Pro Se Plaintiffs access to their authority, with a firewall between the

agents assigned for this purpose and the defense of this case, such that the Court

can review the actions of the FBI and DOJ in camera in terms of the response to

Pro Se Plaintiffs’ requests, including but not limited to, the evidence already

accumulated by the Pro Se Plaintiffs and their experts.




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      The actions of the Defendant DOJ and Defendant FBI will then be

transparent and that in the very least there will be an apparent attempt to

objectively do their duty to enforce the United States Constitution, irrespective of

the Pro Se Plaintiffs’ complaints against some of personnel of the FBI and the

Department of Justice and others wrongfully acting under color of law or in

concert with those wrongfully acting under color of law.

                       III.     AUTHORITY

      This Court has the authority to ensure fair hearings including, but not limited

to, the appointment of Pretrial Masters and Rule 706 experts in the interest of

justice and ensuring the rights of the public guaranteed by the United States

Constitution.

Pretrial Masters

      “The appointment of masters to participate in pretrial proceedings has

developed extensively over the last two decades as some district courts have felt

the need for additional help in managing complex litigation. This practice is not

well regulated by present Rule 53, which focuses on masters as trial participants.

Rule 53 is amended to confirm the authority to appoint -- and to regulate the use of

-- pretrial masters.

      A pretrial master should be appointed only when the need is clear” as it is

here. “Direct judicial performance of judicial functions may be particularly


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important in cases that involve important public issues or many parties. At the

extreme, a broad delegation of pretrial responsibility as well as a delegation of trial

responsibilities can run afoul of Article III.

      A master also may be appointed to address matters that blur the divide

between pretrial and trial functions…Review of the master's findings will be de

novo under Rule 53(g)(4), but the advantages of initial determination by a master

may make the process more effective and timely than disposition by the judge

acting alone. Determination of foreign law may present comparable difficulties.

The decision whether to appoint a master to address such matters is governed by

subdivision (a)(1)(C), not the trial-master provisions of subdivision (a)(1)(B).”

USCS Fed Rules Civ Proc R 53

Rule 706. Court Appointed Experts

   (a) “Appointment. The court may on its own motion or on the motion of any

party enter an order to show cause why expert witnesses should not be appointed,

and may request the parties to submit nominations. The court may appoint any

expert witnesses agreed upon by the parties, and may appoint expert witnesses of

its own selection. An expert witness shall not be appointed by the court unless the

witness consents to act. A witness so appointed shall be informed of the witness'

duties by the court in writing, a copy of which shall be filed with the clerk, or at a

conference in which the parties shall have opportunity to participate. A witness so


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appointed shall advise the parties of the witness' findings, if any; the witness'

deposition may be taken by any party; and the witness may be called to testify by

the court or any party. The witness shall be subject to cross-examination by each

party, including a party calling the witness.” USCS Fed Rules Evid R 706

      The DC District Court and DC Circuit Court have found the need for

creation of mechanisms to ensure fair hearings:

            “The court found that the instant matter met the exceptional condition test of
     Fed. R. Civ. P. 53. The district court did not have any access to impartial expert
     evidence or even the benefit of the traditional adversary process to illuminate the
     nature of the documents in question.”
     In re United States Dep't of Defense, 848 F.2d 232 (D.C. Cir. 1988)


                      IV.            CONCLUSION

      THEREFORE, the Pro Se Plaintiffs pray this Honorable Court in the

interests of the American public and in accordance with this Court’s role in

assuring equal justice under the United States Constitution, appoints experts and

Pre Trial Masters, composed in large part of an independent group of FBI agents

and/or former FBI agents and one or more lawyers from the Criminal and Civil

divisions of the Department of Justice, protected by the aforementioned firewall.

These persons are individuals who specialize in dealing with violations of civil

rights under color of law and include persons familiar with FBI procedures in that

regard and persons with whom Pro Se Plaintiffs can openly speak, so that the Pro




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                         CERTIFICATE OF SERVICE

   I hereby certify that on the 28th day of October, 2010, I electronically filed
the foregoing PRO SE PLAINTIFFS’ MOTION FOR FIREWALL
PROTECTION EITHER AS SUPPLEMENT TO THE MINUTE ORDER
GRANTING THE UNITED STATES GOVERNMENT DEFENDANTS’
MOTION FOR ENLARGEMENT OF TIME (DOCUMENT NO. 53) OR AS
A SEPARATE COURT ORDER, with the Clerk of Court using the CM/ECF
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